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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                    CHIEF MAGISTRATE JUDGE JOSEPH C. SPERO

                                       CIVIL MINUTES



Case No.: 18-cv-05602-YGR (JCS)
Case Name: Ragudo v. City of Daly City

Date: November 5, 2019                        Time: 5 H
Deputy Clerk: Karen Hom                       Court Reporter: 2:29-2:34

Attorney for Plaintiff: Fulvio Cajina, Stanley Goff
Attorney for Defendant: Lisa Rauch


                                       PROCEEDINGS

(X)    Settlement Conference - Held

       (X) Case Settled      ( ) Case Did Not Settle       ( ) Partial Settlement

( )    Further Settlement Conference

       ( ) Case Settled      ( ) Case Did Not Settle       ( ) Partial Settlement

( )    Telephonic Scheduling Conference to set Settlement Conference

( )    Further Telephonic Settlement Conference

( )    Discovery Conference – Lead Trial Counsel Meet and Confer

( )    Status Conference

( )    Other

Notes: Settlement placed on the record. Settlement is subject to approval by the Daly City City
Council.
Parties in attendance: Dolores Ragudo, Filemon Ragudo, Roberto Caisip, Mary Knoll-Johnson,
plaintiffs. Rose Zimmerman, Daly City City Attorney, Patrick Hensley, Daly City Chief of
Police.
